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     (Enter above the full name of ALL
     defendants in this action. Do not
     use "et al.")

     CHECK ONE ONLY:                              AMENDED COMPLAINT

  \J                 COMPLAINT UNDER THE           CML       RIGHTS ACT, TITLE 42 SECTION 1983
                     U.S. Code (state, county, or municipal defendants)

                     COMPI.AINT UNDER THE CONSTITUTION ( 'BIVENS '' ACTION), TITLE
                     28 SECTION 1331U.S. Code (federal defendants)

                     OTHER (cite statute, if known)

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     FILING.'      F OLLOW THE SE IN STRU CTIONS CARE FULLY.
     Case: 1:15-cv-06151 Document #: 11 Filed: 09/14/15 Page 2 of 46 PageID #:123




I.       Plaintiff(s):

         A.      Name:

         B.      List all aliases:

         C.      Prisoner identification number:     K t ff q Z
         D.      Place of present confinement:

         E.      Address:

         (If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
         number, place of confinement, and current address according to the above format on a
         separate sheet of PaPer.)

IL       Defendant(s):
         (In A below, place the full name of the first defendant in the first blank, his or her official
         position in thi second blank, and his or her place of employment in the third blank. Space
         for two additional defendants is provided in B and C.)

          A.     Defendant:      V(,rV,es\ Le.-(e-
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                  Place of Employment:    6!,-ks'.ttu           Co. Ca^\e*

          B.      Defendant:                          ,fltrnpr'n\

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          C.      Defendant:                                  \tAoi(.,^rBKt
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                  Place of Employment:

          (If you have more than three defendants, then all additional defendants must be listed
          according to the above format on a separate sheet of paper.)




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III.   ListALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
       court in the United States:
                                                         !
       A.     Name of case and docket     number: N      /A

       B.     Approximate date of filing    lawsuit:     N   I   n
                                                                                                t
       C.     List all plaintiffs (if you had co-plaintiffs), including any   aliases:     N   la


       D.     List all defendants: ,.i    /n
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       E.     Court in which the lawsuit lvas filed (if federal court, name the district; if state court,
              name the  county):     h/ lA
                                          'r
       F.     Name of iudse to whom case was       assisned: N le


       G.     Basic claim




       H.     Disposition of this case (fo; example: Was the case dismissed? Was it appealed?
              Is it still oendins?): hl I A




              Approximate date of dispositi    on, I f e

IF YOU HAVE FILED MORETHAN ONELAWSUIT,THEN YOU MUSTDESCRIBETHE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO.
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.



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v.   Relief:

     State briefly exactly what you want the court to do for        you. Make no legal arguments. Cite
     no cases or statutes.




u.   The plaintiff demands that the case be tried by    a   jury'


                                                        CERTIFICATION

                            By signing this complaint,         I certify that the facts stated in this
                            Complaint are true to the best of my knowledge, information and
                            belief. I understand that if this certification is not correct, I may be
                            subject to sanctions by the Court.

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                             (Signature of plaintiff or plaintiffs)



                             (Print name)


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     Monitoring Visit to Stateville Correctional Center
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 The John Howard Association (JHA) visited Statevilte Correctional Center (Stateville) on
 July 13, 20t1. Stateville, a Level One maximum-security adult male facility, first opened
 in 1925.It is located in Crest Hill, illinois, about one hour southwest of Chicago.

                                                  Yital Statistics:

                                                   Population: 1,608
                                                   Rated Capacity: 978
                                                   Average Annual Cost per Inmate: $32,693
                                                   Average Age: 35
                                                   (Source: IDOC, l2l4l lI)




 Key Observations:

     .   Stateville   is the most complex of all Illinois' prisons, containing      general
         population, segregation, and protective custody units, as well as housing inmates
         on temporary court and medical writs awaiting transfer. Stateville is also situated
         next to the Northern Reception and Classification Center (NRC), the major adult
         male intake and classification unit for the state of lllinois.

     .   Stateville is home to the roundhouse, the only functioning panopticon in the
         United States.

         Stateville suffers from significant staffing shortages, particularly in mental health,
         medical and clerical positions.

         Despite the efforts of the administration, parts of Stateville are infested with pests
         and vermin.


         The racial makeup of Stateville's population is roughly 69 percent African
         American; 19 percent White; 12 percent Hispanic; and less than 1 percent Native
         American and Asian.
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  Monitoring Report of Stateville Correctional Center
  July 13, 2011
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       Monitoring Visit to Stateville Correctional Center
                                             7lt3l201l
                                        Executive Summary

  The John Howard Association (JHA) visited Stateville Correctional Center (Stateville) on
  July 13,2011. Stateville, a Level One maximum-security adult male facility, flrst opened
  in 1925. Stateville is located in Crest Hill, Illinois, about one hour southwest of Chicago.
  It contains 1,664 double-cells in six units which house general population, segregation,
  protective custody inmates and inmates on temporary court and medical writs awaiting
  transfer. Stateville is situated next to the Northern Reception and Classification Center
  (NRC), the major adult male intake and classification unit for the state of Illinois. In
  addition, NRC contains a minimum-security unit (MSU) that houses 344 inmates who
  perform jobs at NRC and Stateville. This report covers Stateville and MSU. NRC is
  addressed in a separate JHA report.l

  On the date of JHA's visit, Stateville and NRC together housed 3,319 inmates, well over
  the combined rated-design capacity of 3,162 inmates. Of these, 1,596 inmates were
  housed in Stateville, approximately 163 percent over that facility's rated capacity of 978
  inmates. Since the time of JHA's visit in July 2011, Stateville and NRC's combined
  population has increased by roughly 400 more inmates.2

  The population at Stateville cannot continue to increase at such a rate without dire
  consequences. Stateville's biggest challenges-severe overcrowding, understaffing, a
  grossly deteriorating physical plant, lack of education and inmate programming, and lack
  of resources to address these issues-are squarely beyond the control of the facility's
  staff and administration. It is the responsibility of Illinois' elected officials to find safe,
  cost-effective ways to reduce the state's prison population.

  The effects of overcrowding, underfunding, and understaffing were evident throughout
  the facility, but most dramatically on display in housing unit F, the panoptic
  "roundhouse," which holds 400 inmates in double-bunk cells designed to house one
  person. The nearly 90-year old building, described in detail in the body of this report, has
  no place in a modern, civilized correctional system. Its grim conditions include persistent,
  noxious noise-levels; substandard heating, cooling and air ventilation; infestations of
  cockroaches and other pests; poor sanitation due to malfunctioning toilets, plumbing, and
  showers that are peeling and decaying; broken and non-functioning windows; and a
  physical plant that is overall dilapidated and falling apart. Because space is so limited and

  I Monitoring Visit to Stateville Northern Reception & Classification Center   7   ll2l20l t, available   at
  http://www.theiha.org/NRC

  2
    See Illinois Department of Corrections Quarterly Report, October l,2OIl, available at
  http://www.idoc.state.il.us/subsections/reports/quarterly reports/DOC.pdf
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Monitoring Report of Stateville Correctional Center
July 13,201I
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the roundhouse holds multiple populations of varying security levels that must be kept
separate, orchestrating inmate movement can be very difficult for correctional staff. Until
recently, some staff, in a misguided effort to be more efficient, adopted the appalling
practice of showering two inmates at a time under one showerhead. On discovering this,
the current administration acted decisively to put a stop to this practice. However, JHA
received reports from some inmates that this still occasionally occurs.

Subjecting inmates to such harsh, dehumanizing conditions has an injurious impact on
their safety and physical and mental well-being, and increases the likelihood of prison
violence.3 It also undermines pubtic safety and welfare, as recent studies show that harsh
prison conditions do not improve inmates' post-release behavior, but tend to increase the
likelihood of recidivism.a Further, poor prison conditions have a seriously deleterious
impact on eorrectional staff who must work in this environment, greatly increasing their
stress and workload pressure and making it more difficult for them to both monitor
                                                       a
inmates and safely and effectively perform their jobs.

Lack of adequate staffing, particularly medical and mental health staff, is also a major
issue at Stateville. As detailed in the body of this report, Stateville is in desperate need of
more physicians, psychiatrists, nurses and medical technicians to meet the health needs of
a population that has a high incidence of serious mental and physical illness and is
rapidly aging. In the face of insufficient medical staffing and resources, there is little
question that inmates with serious health problems are suffering and going without
adequate treatment at Stateville and facilities across the state.

As observed in prior JHA facility reports, this is a disaster in the making. Lack of
adequate access to healthcare in Illinois prisons is not simply a humanitarian crisis. It is a
public health crisis, as the failure to properly treat inmates with disease and illness
endangers not only inmates and prison staff, but also the broader community to which
inmates return when they are released. Ultimately, it is the public that bears the brunt
when inmates with untreated infection and communicable disease are reintroduced into
communities.5

 3
   See Commission on Safety and Abuse in America's Prisons, Executive Directives and PrisonViolence
 (2005), discussing how increased levels of inmate stress from harsh conditions are linked to increased
 individual and collective acts of prison violence, available athttp llwww. prisoncommission.org/
 statementV thompkins_douglas.pdf.

 a
     See   M. Keith Chang, Yale University and Cowles Foundation,   Jesse   M. Sapiro, University of Chicago
 and NBER, Do Harsh Prison conditions         Reduce Recidivism?: A Discontinuiry Based Approach, available
 at   http: //faculty. som. yale.edu/keithchen/papers/Final-AlER07.pdf

 5
  See David M. Bierie, The Impact of Prison Conditions on Staff Well-Being,Intemational Journal of
 Offender Therapy and Comparative Criminology (November 30,2010).

 6
      See John   V. Jacobi, Prison Health Public Health: Obtigations and Opportunities,3l Am. J. L. and Med.
 447, 466-467 (2005), documenting how the failure of prisons to adequately treat mental and physical
 illnesses is threatening the public with physical and financial harm, given that almost all of the more than
 two million persons incarcerated today will be released back into the community.
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  Recommendations:

      (1) The Illinois Governor and General Assembly must reduce the prison population
          through sentencing reform, enact a safe replacement for Meritorious Good Time,
          and provide Stateville and other DOC facilities with the funding and staffing
          needed to meet the population's basic medical and mental health needs. If such
          action is not taken, it is all but inevitable that that this issue will end up being
          litigated in the courts.

      (2) To address the needs of its population and provide a safe environment for inmates
          to live and staff to work, Stateville needs more mental health, medical, and
          clerical workers.

      (3) Stateville should continue to explore ways to provide programming to its long-
          term inmates, who are effectively barred from participating in educational and
          vocational opportunities.

                                             Introduction
  This report examines the following issues: Housing & Living Conditions; Medical,
  Mental Health & Dental Care; Segregation & Protective Custody; Minimum Security
  Unit; Education, Programming, Jobs & Industries; Staffing Issues; Population & Facility
  Demographics.

                                 Housing & Living Conditions

  Stateville contains atotalof 1,700 beds divided among six separate living units. Units B,
  C, D, E, known as the "quarter units," each occupy a fourth of a single housing structure
  and house general population inmates. On the date of JHA's visit, roughly 1,100 inmates
  were double-celled in these quarter units.

  Unit X, known as "X-house," contains 96 beds. It houses protective custody inmates and
  inmates who have newly arrived to Stateville and are awaiting orientation. On the date of
  JHA's visit, 83 protective custody inmates and four orientation inmates were housed in
  X-house. X-house is the building where death row used to be located before it was moved
  to Pontiac Correctional Center.T

  Unit F, known as the "roundhouse," is a panopticon-style structure built in 1925. It is
  composed of a circular cell house surrounded by four tiers of cells with an armed guard
  tower situated in the center of the building. A variety of inmate populations are housed
   in the roundhouse, including segregation inmates, inmates transferred to Stateville on



  ' In 20 t l, ilinois abolished death penalty, and Governor Quinn commuted the sentences of everyone on
   death row to life in prison.
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 court writs who are waiting to be transferred for court hearings, and overflow inmates
 from general population and protective custody. The roundhouse has the capacity to
 house approximately 400 inmates and was fulIon the date of JHA's visit.

 In addition, Stateville contains several unused housing units that together could house an
 additional 600 inmates in double-bed cells. Administrators previously explored whether
 these unused units could be opened so as to allow them to close the roundhouse.
 However, the idea was unworkable because these units require such a high number of
 staff to operate that they are cost-prohibitive.

                                                 JHA had the opportunity to visit both                 the
                                                 roundhouse and X-house.

                                                 The Roundhouse

                                                 roundhouse is the only functioning
                                                 The
                                          panopticon in the United States (see left image).
                                          The brainchild of 19th century British
                                          philosopher Jeremy Bentham, panopticons have
 a single center tower with rows of cells circled around it. The purpose of this design was
 intended to make it easier for one observer to monitor large groups of inmates. Bentham
 argued that the panopticon would also create "a new mode of obtaining power of mind
 over mind," as inmates would internalize the tower's gaze and eventually learn to
 monitor themselves.s

 Whatever lofty goals Bentham envisioned for his panopticons, the reality of the
 roundhouse is far from ideal.e The most obvious, immediate problem presented by the
 roundhouse is a terrible, dysfunctional design. In every respect the roundhouse seems
 perfectly engineered to induce extreme aggravation, anxiety and stress among inmates
 and staff. In fact, the inmates, staff, and administrators that JHA spoke with seemed to
 universally despise the building. As one administrator expressed: "If we could take a
 wrecking ball to the roundhouse tomorrow, we would gladly do it.,,

 The roundhouse's acoustics amplify sound to such a degree that all that can be heard
 upon entering is a deafening roar of yelling, talking and screaming and the persistent
 sound of banging on metal and brick. Because ambient noise levels are so high, a person
 in the roundhouse must raise his voice simply to be heard. In this chaotic, noisy
 environment, correctional officers are seriously handicapped in their ability to listen for
 signs of trouble or disturbance. The four-tiered cell design also makes it difficult for
 correctional staff to quickly access inmates.

 8
     See Jeremy Bentham, The   PanopticonWritings,20lO.
 eSee
      Michel Foucault, Discipline and Punish: The Birth of the Prison,lg5-228,(Alan Sheridan trans.,
 Vintage Books 2 ed. 1995) (1917).
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 By virtue of the circular design, inmates are also deprived of any remote semblance of
 privacy, as every inmate is constantly on display in his cell to the hundreds of other
 inmates in the roundhouse. Privacy and personal space are usually limited quantities in
 prisons due to safety issues. However, the roundhouse exacerbates lack of privacy by
 eliminating any and all possibility for privacy or personal retreat by putting inmates
 constantly on public display to a huge crowd of spectators. Without some privacy and
 personal space, inmates become tense and react with increasing hostility. As tension and
  irostility gio*, security requirements likewise increase, creating a vicious cycle.r0

  The roundhouse's design is also costly and inefficient. Even the seemingly simple chore
  of changing a light bulb can be a huge undertaking because the high ceiling requires
  special equipment to accomplish this task on the fourth tier. The cells, originally
  designed to house single inmates, now mostly house two inmates apiece and are cra'mped,
  dilapidated and needing paint. Given the lack of insulation in the 1925 building,
  temperatures in roundhouse tend to be very hot in the summer and cold in the winter.

  While the cells in the roundhouse contain small windows, these are also ill-designed to
  meet the needs of prison housing. Because the metal handles needed to open and close
  the windows posed a security threat and could be used as weapons, they had to be
  removed. Consequently, inmates have little ability to control window access and outside
  airflow in their cells.

  The roundhouse showed every bit of its age on the date of JHA's visit and appeared
  decrepit and neglected. JHA observed broken windows in a number of inmates' cells. To
  keep out spiders and bugs, inmates had to place plastic and paper over the broken
  windows. The administration reported that, in winter, inmates also place plastic bags over
  the windows to try to keep out drafts. While the administration acknowledged this
  situation was far from ideal, it assured JHA that temperatures in all of Stateville's
  housing units are monitored in winter and are not allowed to go below 68 degrees. It is
  unclear, however, how this can be reasonably and cost effectively maintained without
  significant and immediate repair to the roundhouse.

  Because the roundhouse must house multiple inmate populations of widely differing
  security classifications, the logistics of moving inmates to and from yard times, visiting
  rooms, showers and commissary is also complicated, as inmates in segregation, general
  population and protective custody must be kept separate. On average, general population
  inmates spend 2l to 22 hours a day in their cells, and are permitted a total of five two-
  hour personal visits per month_(four visits on weekdays; one on the weekend), and one
  30-rninute personal phone call each week. However, general population inmates in the
  roundhouse complained that they were treated more like segregation inmates in that their
  privileges, commissary, and outside cell and shower times were more limited. While the
  general population is supposed to eat breakfast in their cells and lunch and dinner in the


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       See U.S. Department of Justice, National   Institute of Corrections,Correctional Health Care: Guidelines
  for   the Management of an Adequate Deli*-ery System, at 14 @ecember 2001).
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dining area, inmates in the roundhouse reported they sometimes are not let out but are
instead served lunch or dinner in their cell.

Most disturbingly, JHA learned that the pressure of having to orchestrate the movement
of disparate populations led some staff to adopt the disturbing practice of placing two
inmates at a time under one showerhead in a misguided effort to increase efficiency.
Multiple inmates complained to JHA of being double-showered in this fashion. JHA
adamantly disapproves of this practice as degrading, dehumanizing and dangerous.
Stateville's administration agreed and has taken decisive action to end this practice.

The administration frst discovered that the practice of double-showering was occurring
months prior to JHA's visit and immediately issued a directive ordering staff to cease the
practice. The administration indicated that since issuing this directive, the practice has
declined sharply, although it still receives sporadic reports of staff double-showering
inmates.

To ensure that the practice ends entirely, the administration routinely walks though the
housing units, questions inmates, and encourages inmates to report any instance of
double-showering directly to the warden or the assistant wardens. JHA encourages the
administration to continue vigilant, ongoing efforts to ensure that this awful practice
desists.

Pest Control

JHA received an overwhelming number of reports that the roundhouse is cockroach-
infested. Multiple inmates expressed intense frustration and distress at their cells being
"ovemrn" by cockroaches, particularly at night. lnmates reported they were anxious and
unable to sleep because they were worried cockroaches would crawl into their ears or
mouths as they slept. Some inmates reported putting toilet paper in their ears at night to
keep out roaches and bugs. Although inmates indicated they were careful to keep their
cells clean and free of open food items, this had no impact on the roach-infestation.
Numerous inmates also reported infestations of birds and mice in winter. Across the
board, inmates were extremely stressed at having to live and sleep in a noxious, pest-
infested environment.

Cockroach infestation was a major issue when JHA last visited Statevilte in September,
2010.It was apparent at the time of JHA's most recent visit that this remains an ongoing
problem. The administration acknowledged that cockroach and vermin infestation is a
chronic problem in Statesville's housing units, particularly the roundhouse. It attributed
the pest problem to muitiple factors, including the age of the facility and the fact that
inmates store commissary food items in their cells. Environmental health and safety
regulations also play a role, in that exterminators are prohibited from spraying pesticide
directly into cell areas without temporarily moving inmates. Thus they can only spray
the areas outside the cells. Exacerbating the situation, the administration reported that a
prior vendor was found to have been using expired, water-down pesticide that was
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  ineffective to treat the infestation. The administration has since been allowed to hire a
  new vendor and is spraying two times a week to try and control the infestation. It
  reported that these measures are beginning to show some positive results in reducing the
  cockroach infestation.

  JHA commends Stateville's administration for taking steps to address the pest problem,
  and encourages it to continue to do so. However, JHA remains extremely troubled by this
  situation. Infestations of cockroaches, mice and birds have serious health implications for
  inmates and staff because these are disease vectors. Further, living and working in
  vermin-infested environments is not only unsanitary and unhealthy; it also generates
  significant duress and tension for inmates and staff, which negatively impact the facility's
  stability and security.

  While spraying pesticides is an important component of pest control, fixing broken
  windows and repairing cracks and holes in buildings to prevent pests from entering is
  arguably even more important. The harsh reality is that the administration simply does
  not have the funding or resources to address the multitude of serious physical plant
  problems in Stateville's aging housing units that are sustaining pest infestations.
  Nevertheless, implementing small measures, such as formally educating inmates on the
  importance of proper food storage and trash disposal and ensuring that inmates have
  ready access to trash disposal, cleaning supplies and sealable storage containers could
  potentially improve the situation.       If
                                          the administration has not already explored
  implementing such additional small measures to assist in pest control, JHA would
  encourage it to do so.

  Notably, several inmates reported to JHA that it was difficult for them to obtain cleaning
  supplies and hygiene products from staff. The. administration indicated it has a set
  schedule for distributing cleaning and hygiene products to inmates once a week. It
  acknowledged, however, that staff members ar,e sometimes lax in handing out these
  supplies. Ready access to cleaning and hygiene supplies is essential to good sanitation
  and health. JHA believes that having staff sign a login sheet documenting the dates and
  times that cleaning and hygiene supplies were distributed could help to alleviate this
  problem.

  Plumbing

  Another major housing issue reported by inmates in the roundhouse was malfunctioning
  toilets in the cells. Specifically, inmates reported that as a result of poor water pressure
  and/or or aging plumbing, there is a 10 to 15 minute delay from the time a toilet is
  flushed to the time the water pressure builds up enough to allow the toilet to be flushed
  again. Thus, double-celled inmates cannot quickly and reliably dispose of human waste
  when they use the toilet in succession. Many inmates reported to JHA that they must
  delay defecating for this reason. Inmates also reported that the showers in the roundhouse
  were exceptionally dirty, peeling, molding.
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Effective plumbing and sewage disposal are essential to eliminating disease pathogens,
particularly in crowded living quarters. Delaying defecation can have health substantial
consequences including abdominal pain, diverticuli, and hemorrhoids.ll Even assuming
the roundhouse's plumbing meets applicable health standards, the morale and mental
well-being and inmates and staff are negatively impacted by having to live and work in
filthy conditions.

Absent a costly total overhaul of Stateville's aging plumbing system, it is questionable
how this issue can begin to be effectively addressed. To the administration's credit,
however, it reported that the showers in the roundhouse were actively in the process of
being actively scraped and repainted on the date of JHA's visit.

X-House

JHA also had the opportunity to visit X-house, which houses inmates in protective
custody. While X-house's design does not present as many immediate physical plant
problems as the roundhouse, its cells are also shabby and dilapidated. One of the most
frequent reports heard from inmates in X-house, and from Stateville inmates in general,
concerned the poor condition of their sheets, bedding, pillows, and mattresses. Many of
the bedclothes and mattresses that JHA saw were threadbare, stained, frayed and in very
poor condition. One inmate displayed a pillow that had disintegrated entirely and was
crumbling into pieces. Another inmate indicated he had yet to be issued a pillow and was
using wadded up clothing as a substitute.

Other inmates reported that clothing sizes did not fit, so they were forced to try to modify
clothes on their own to try to make them wearable. One inmate that JHA interviewed
demonstrated the problem, showing us how he rolled and tied up his oversized pants to
keep them from dragging down.

JHA also received a significant number of reports from inmates distressed at the poor
quality of the food, the absence of hot meals, and being routinely deprived of eating
utensils. Some inmates reported that they lost substantial amounts of weight on
transferring to Stateville and were underweight because food portions were so small and
unpalatable. More than a few inmates also reported the presence of mice, mice droppings
and roaches in the dietary unit, and a general lack of sanitation there. Several inmates
also complained that the food carts used for food delivery were dirty and unsanitary as
these same carts were also used to remove garbage and food waste. The administration
confirmed that one set of carts previously was being used both to deliver food and to
remove garbage. However, the administration has since instituted a policy and schedule
to keep food carts and garbage removal carts separate and to have food carts washed once
a day.




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     See National   Institutes of Health (MH) Publication No. 95-2754,Ju1y t995.
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  Some inmates also reported that access to commissary was sporadic and did not occur
  two times a month as scheduled.

  Providing inmates with clean, serviceable bedding and clothing is not a luxury, but a
  basic living necessity. Adequate bedding and clothing are ail the more essential to
  Stateville's inmates, given the coldness of the housing units in winter. Likewise, access to
  hygiene products, sufficiently palatable food in appropriate portions, sanitary food
  preparation and eating utensils are vital human needs.


                        Medical, Mental Health & Dental Care

  Stateville has a 32-bed air-conditioned infirmary which includes the mental health unit
  and eight suicide watch cells. The facility additionally contains a separate dialysis unit
  and a small unit for providing physical therapy.

  Medical, mental health, dental and eye care services are provided through a mixture of
  state employees and private contractual employees through Wexford Healthcare. On the
  date of JHA's visit, there were four inmates on suicide watch and one terminally ill
  patient housed in the infirmary. Two inmates were receiving dialysis. To its credit,
  despite the pressures of understaffing, Stateville's administration ensures that inmates
  housed in the infirmary for an extensive period have an opportunity for weekly yard time.

  Medical Care

  The infrmary appeared clean and tidy when JHA visited. However, the dialysis clinic
  was rundown and poorly maintained. Parts of the floorboards had peeled away leaving
  exposed holes. There was duct tape on some of the walls and the floor appeared dirty. A
  large biohazard trashcan was positioned near the door with its contents exposed,
  uncovered by any seal or lid.

  The dialysis unit runs six days a week from 3 a.m. until 9 p.m., and can accommodate
  three patients at a sitting. Inmates are shackled to their chairs during dialysis and at least
  two correctional staff must be present for every three inmates. If the demand for dialysis
  exceeds Stateviile's capacity, inmates are sent to Graham Correctional Center for
  treatment as Graham also has a dialysis unit.

  Stateville's physical therapy room is open a few days a week, and treatment is limited to
  large muscle therapy as there is not the staff or resources to provide intensive therapy.
  Staff indicated that there is a backlog to be seen in physicat therapy. Staff reported thJre
  generally is a delay of two to four week from the time an inmate is refered for physical
  therapy to the time he receives treatment. With respect to eye care, Stateville is staffed
  with one part-time optometrist for a total of eight hours a week. Given this staffing level,
  JHA was not surprised to hear from an inmate that he had been waiting almost two years
  to obtain glasses.
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 Remarkably, even at optimal staffing
                                             Number of Statesville Inmates Diagnosed with
 levels, Stateville is authorized to
                                                Chronic Disease and lllness (Reported
 employ only two full-time
 physicians. On the date of JHA's                              I   t/30/11)
 visit, one physician was away on
 extended-leave. This leaves only            Asthma                   165

 one full-time physician (37.5 hours
                                             Cancer                   5

 per week) responsible for the health        Diabetes                 111
                                             Hepatitis C              82
 of 1,596 men. Making a grim                 HIV                      16
 situation worse, the facility was also
 understaffed      with nurses     and
                                             Hypertension             423
 certified   medical technicians at the
                                             Tuberculosis             3

 time of JHA's visit.              While
 authorized for 2l full-time nurses (37.5 hours per week), only 13 of these positions were
 filled on the date of JHA's visit. This leaves a very low nurse to inmate ratio of l:123.
 While authorized for 18 full-time certified medical technicians, only 10 of these positions
 were filled. Stateville staff indicated that their resources are being stretched to the limit,
 as there are enough staff and medical technicians to distribute medications and perform
 daily sick rounds. Stateville's administration was nevertheless hopeful that the situation
 would improve somewhat, as five new nurses had been hired and were in the process of
 orientation.

 Although Stateville's medical staffing levels may appear shockingly low, they are on par
 with medical staffing levels at most Illinois prisons. Lack of adequate medical staffing is
 a systemic problem throughout the Illinois prison system, and Stateville is just another
 example of this. Making matters even more difficult at Stateville, when staffing levels at
 the adjoining Northern Reception and Classification Center (NRC) are low, medical staff
 are often pulled from their duties at Stateville to perform duties at NRC, leaving only a
 skeletal medical staff to serve Stateville's population. Stateville's administration also
 tries its best to keep lockdowns to a minimum because inmates who have chronic
 diseases, like HIV and Hepatitis C, cannot be seen and treated at their regularly scheduled
 appointments when the facility is on lockdown.

 Under the circumstances, it was predictable that JHA received a very high volume of
 reports from inmates of poor medical care and lack of access to treatment. These reports
 ranged widely and included complaints of painful ear and throat illnesses going untreated
 for months and developing into acute infection; severe pain following an invasive surgery
 for a fractured hand going untreated and un-medicated; a pre-existing thyroid condition
 going un-medicated; prostate screening being denied to an elderly inmate after his father
 died of prostate cancer; and an inmate being denied X-rays and treatment for a fractured
 foot for several weeks, Numerous inmates reported substantial delays, ranging from one
 week to more than a month, from the time they put in a sick call slip to be seen to the
 time they were actually assessed and medically treated. Some inmates hypothesized the
 delays were the result of correctional staff not picking up sick call slips on a regular
 basis. Others hypothesized that the medical staff simply "hated them."
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 JHA has no information to either confirm or refute inmates' individual         complaints
 regarding their healthcare experiences. However, the extremely high volume of medical
 complaints; the inadequate level of medical staffing; and the overwhelming sense among
 inmates of medical needs and physical sirffering being met with indifference or hostility
 all point to a healthcare delivery system collapsing under the weight of demand.

 At   Stateville, the challenge of providing adequate healthcare is even more daunting
 because    its inmate population is older, with a median age of 35, and includes more
  elderly and long-term prisoners. According to one administrator, the greatest challenge
  facing Stateville and DOC as a whole is this rapidly growing population of elderly
  inmates and the rising healthcare costs to care for them. This administrator warned that a
  crisis is on the horizon in Illinois corrections because they simply did not have the
  funding, housing, staffing, experience, or capacity to incarcerate a large elderly prisoner
  population.

  Mental lfealth Care

  Understaffing and lack of resources also challenge Stateville's ability to provide adequate
  mental health treatment to the population. At the time of JHA's visit, 488 inmates were
  under psychiatric care. Of these, 239 rnmates were receiving psychotropic medication,
  two involuntarily. Despite the high volume of inmates' with mental illness, Stateville was
  authorized and employed one full-time psychologist (40 hours per week) and one part-
  time psychiatrist (30 hours per week). The majority of the psychologist's caseload
  consists of inmates in segregation.

  A mental health staff member that JHA spoke with indicated that the facility's        single
  greatest need is more psychiatrists and mental health professionals. Staff candidly
  admitted that the mental health needs of Stateville's population are much greater than the
  facility can provide for. Staff also indicated that it is often difficult to find and retain
  qualified mental health professionals because working in a prison environment with huge
  patient caseloads and minimal resources is extremely stressful and demanding.
  Stateville's administration agreed that additional mental health staff were badly needed.

  Inmates receiving psychotropic medications are seen once a month by a psychiatrist for
  medication checks during the first three months of treatment, and less frequently
  thereafter. Staff reported that inmates who request to see a mental health professional are
  usually seen within two to three days. Stateville does not provide substance abuse
  treatment to inmates.

  Staffreported that Stateville's population suffers from a wide variety of mental illnesses,
  including a significant number of inmates with bipolar disorder and schizotypal disorders.
  According to one staff, the severity of the mental illnesses and the number of inmates
  with severe mental illness has greatly increased throughout DOC over the last decade,
  coinciding with the closing of state mental hospitals and elimination of state, county, and
  community mental health treatment centers. An administrator reported to JHA that the
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 number of inmates actually tequiring and sporadically receiving some form of mental
 health treatment at Stateville was probably closer to 900, or 56-percent of the population.

 Another mental health staff member reported, however, that malingering is a big
 problem. JHA has encountered similar beliefs among medical and mental health
 professionals at other DOC facilities. This staff member did not specify how often
 inmates engage in malingering, but was of the opinion that it occurred very frequently.
 He explained that inmates had learned "legalese" and to mimic physical and psychiatric
 symptoms in order to obtain "secondary gains," like access to air conditioning in the
 infrmary, psychotropic drugs or pain killers.                    ,



 JHA is troubled by the pronounced overemphasis on malingering among some DOC
 healthcare staff. Research confirms that fear of inmate malingering can lead correctional
 health care staff to under-medicate, under-diagnose and under-treat serious pain and
 illness in inmates, with disastrous consequences.'2 Undoubtedly, there are a number of
 inmates in the prison healthcare system, as in other healthcare systems, that exaggerate
 and feign symptoms of physical or mental illness to obtain secondary gains. However, it
 is also true that that manipulation and exaggeration are not per se inconsistent with
 genuine physical and mental illness. Indeed, in facilities like Stateville, where medical
 and mental health staff do not have the time or resources to adequately attend to inmates,
 the only option left for sick inmates to get necessary treatment and attention may be
 exaggeration or manipulation.I3 This vicious cycle ls iit<ety to persist as long as medical
 facility workers remain stressed due to understaffing; inmates continue to be housed in
 substandard conditions that adds to agitation, fear, and anger (see pg. 2); and inmates
 continue to feel a lack of transparency in their health care.

 Federal studies confirm that nearly half of persons in prison are in fact suffering from
 mental illness. Further, persons in prison, often coming from backgrounds of severe
 poverty, neglect and substance abuse, are less healthy that persons in the general public
 and have higher rates of serious medical illness.la In short, the clinical reality is that poor

 tz
   See Michad S. Vaughn and Sue Carter Collin s, Medical Malpractice in Correctional Facilities: State
 Tort Remedies For Inappropriate and Inadequate Health Care Administered to Prisoners,The Prison
 Journal vol. 84 no. 4 505-534 ( December 2004).

 13
      Human Rights Watch, Ill-Equipped: U.S. Prisons and Offenders with Mental Illness at p.l14,
 http ://www.hrw.or g/sites/defaulUfiles/reports/usa   I   003. pdf .

 ra
    According to the Bureau of Justice Statistics, 56 percent of state prisoners and 45 percent of federal
 prisoners have symptoms or a recent history of mental health problems. Further, prisoners have rates of
 mental illness-including such serious disorders as schizophrenia, bipolar disorder, and major depression-
 that are two to four times higher than members of the general public; 8 to i9 percent of prisoners have
 psychiatric disorders that result in significant functional dis-abilities, and another 15 to 20 percent will
 require some form ofpsychiatric intervention during their incarceration. In addition, according to a report
 by the Commission on Safety and Abuse in America's Prisons, poverty, substance abuse, and years of poor
 health care have left prisoners as a group much less healthy than average Americans; and inmates have
 higher rates of infectious diseases and chronic illnesses, including hypertension, asthma, cardiovascular
 disease, and diabetes. See Human Rights Watch: Mental lllness, Hum.an Rights and U.S. Prisons available
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 health, chronic disease and mental illness are endemic and not merely fictional for most
 of the prison population.

 Dental Care

 Stateville is authorized for and employs two full-time dentists (40 hours per week), one
 part-time dentist (32 hours per week) and one full-time dental hygienist (40 hours per
 week). However, the administration reported that, pursuant to a labor contract, dental
 staff are only required to work 20 hours per week. While the administration attempted to
 renegotiate the contract to increase Stateville's actual dental coverage, an agreement
 could not be reached.

 A dental staff member reported no waitlist for dentures or partial dentures, a six-month
 waitlist for fillings, and a waitlist of several weeks for dental extractions. However, if an
 inmate is in pain, staff tries to see him sooner.

 There were four dental chairs in the unit, but one of the chairs was inoperable on the date
 of JHA's visit. In addition, the dental drill needed for fillings was not working. Thus,
 inmates with appointments, who had waited months for fillings, had to be re-scheduled.
 According to dental staff, one of greatest difficulties in meeting inmates' dental needs is
 the lack of reliable, functioning dental equipment. Because equipment, drills and dental
 chairs are in constant use, they wear out very quickly. Staff reported that they are in
 desperate need of new dental equipment because the existing equipment is old and
 constantly breaking, which has made backlogs for dental treatment even longer.

 A dentist that JHA spoke with emphasized the importance of providing inmates with
 definite appointment dates, as this helped to relieve inmates' anxiety and reassure them
 that they would, in fact, be seen at some point, despite huge backlogs. From speaking
 with and watching this dentist interact with inmates, it was clear to JHA that she cared
 deeply about providing quality dental care to inmates and that the inmates under her care
 felt respected and well-treated.

                           Segregation and Protective Custody

  Stateville has the capacity to house a total of 162 inmates in segregation and 96 inmates
  in protective custody. On the date of JHA's visit, 137 inmates were in disciplinary
  segregation and 83 inmates were in protective custody. While inmates in segregation and
  protective custody are kept separate for all activities, they are treated virtually the same
  with respect to out-of-cell time and privileges.



  athttp:// www.hrw.org/ news/2009/09122/ mental-illness- human-rights-and-us-prisons and Confronting
  Confinement: A Report the Commission on Safety arul Abuse in America's Prisons, at http:// www.
  VERADC.oTg/pdfs/ Confronting_Confi nement.pdf .
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 Inmates in segregation come both from Stateville itself and from other correctional
 facilities across lllinois. Stateville was designed and intended to hold inmates with six
 months or less left to serve in segregation, while Pontiac Correctional Center was
 intended to hold inmates with over six months segregation time. In the face of
 overcrowding and an ever increasing inmate population, the average length of time for an
 inmate in segregation at Stateville is now 13 months.

 The administration reported that segregation inmates are permitted to shower three times
 per week. However, JHA encountered several inmates who reported that showers
 occurred one to two times a week. Notably, one segregation inmate reported that he had
 been unable to shower for two weeks.

 Segregation inmates are limited to one 30-minute phone call and two one-hour "no
 contact" visits per month. Only one of the visits may occur on the weekend; the other
 must occur on a weekday. Segregation inmates are given one five-hour-block of yard
 time one day per week. While it would be preferable to distribute the five hours of yard
 time over several days to allow segregation inmates to leave their cells more frequently,
 Stateville's space and staffing levels are simply insufficient to allow this.

 At Stateville, as at other Illinois facilities, prison jobs and educational and vocational
 programming are very limited, and segregation inmates by and large are excluded from
 participating in these entirely. Stateville's segregation inmates thus spend the vast
 majority of their time, roughly 23 to 24 hours a day, locked in their cells, socially isolated
 and id1e.

 As previously documented in prior IHA reports, the trauma of long-term social isolation,
 environmental deprivation, and lack of physical and mental activity in segregation can
 have serious, adverse physical and psychological effects on inmates, which, in turn, can
 have a damaging, destabilizing effect on a facility as a whole by increasing inmates'
 aggression, volatility and disruptive behavior." At Stateville, the danger of segregation
 inmates deteriorating mentally, physically and socially is great, given mental health
 staff s report that a large portion of these inmates have mental illness.

 One mental health staff member that IHA spoke with expressed the belief that
 segregation was a, "therapeutic" for mentally ill inmates because it taught them "lessons
 they missed growing up, such as how to ask for what they need." This staff dismissed
 clinical concerns that segregation might exacerbate mental illness on the grounds that its
 therapeutic value outweighed any "miniscule" counter-indications.

 While JHA does not doubt the professional integrity of this staff member, it has grave
 doubts about the professional viability of this judgment. A majority consensus in the
 fields of medicine, corrections, mental health, and social sciences, supported by a large

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   See Prison Overcrowding: Harmfut Consequences and Dysfunctional Reactions, Testimony of Professor
 Craig Haney, University of California, ayailable at http://www.VERADC.org/statements/haney craig.pdf.
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  body of literature, establishes that segregation, particularly long-term segregation, has a
  profoundly damaging impact on inmates' mental health.r6 A third party mental health
  professional consulted by JHA confirms this assessment. Notably, most correctional staff
  and administrators that JHA has spoken with, including an administrator at Stateville,
  have expressed the opinion that the added stress of segregation often has a negative
  impact on mentally ill inmates. JHA adheres to the position that the practice of using
  prolonged segregation, particularly with regard to mentally ill inmates, should be
  abandoned at all DOC facilities, including Stateville.

  To its credit, DOC's administration, in partnership with the Vera Institute of Justice's
  Segregation Reduction Project, has continued to work on devising and implementing a
  plan to improve segregation conditions and reduce the use of segregation at Stateville and
  statewide. JHA fully supports DOC's ongoing efforts on this front.r7


                                      Minimum Security Unit

  The Minimum Security Unit (MSU) has three buildings consisting of one multi-use unit
  and two housing units. On the date of JHA's visit, 182 inmates classified as Level T (low-
  minimum security) were housed dormitory-style in Housing Unit One, and 762 inmates
  classified as Level 5 (high minimum security) and Level 6 (minimum security) were
  housed in Housing Unit Two. MSU inmates are permitted to have one one-hour visit with
  family and friends each weekend. Most of the inmates in MSU have job assignments,
  such as working in the kitchen or performing janitorial duties at NRC or Stateville. An
  inmate who worked full time, seven days a week as a cook and a janitor reported to JHA
  that he was paid $43.00 per month.

  The MSU inmates that JHA spoke with uniformly reported that they worked seven days a
  week and rarely had a day off of work. Understandably, inmates felt exhausted and were
  frustrated with this situation. Although yard time is offered to MSU inmates two times a
  week in the morning, most inmates never have the opportunity to go to yard because they
  begin work at 5:00 a.m. An inmate explained that this was a serious dilemma because
  yard time was one of the only outlets they had for stress relief.

  The administration acknowledged that MSU inmates often work seven days a week
  because their labor is much needed in NRC. However, the administration indicated that it



   'u 5"",         Metzner and J. Fellner , Solitary ConJinement and Mental lllness in U.S. Prisons: AChallenge
           ".g.,J.
  for Medical Ethics, The Joumal of the American Academy of Psychiatry and the Law, Volume 38, Number
   l, (March 2010); Fred Cohen,Isolation in Penal settings: the Isolation-Restraint Paradigm,22 Wash. U.
  Journal of Law & Policy 295 (2006); Peter Scharff Smith, Iie Effects of Solitary Confinement on Prison
  Inmates: A Brief History and Review of the Literattre , 34 University of Chicago Crime and Justice (2006);
  Holly Miller and Glenn Young, Prison Segregation: Administrative Detention Remedy or Mental Health
  Problem? Journal of Criminal Behavior and Mental Health, Volume 7, Issue 1 (2006).

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    See Yera Institute For Justice, Research Update: Segregation Reducrton Project (November      2,2}ll)
  available at http://www.VERA.org/blog/research-update-segregation-reduction-project.
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 was making efforts to fiIl beds at MSU which would reduce the number of work days for
 inmates and allow inmates to request a day off from work. JHA strongly encourages the
 administration to promptly take whatever steps are necessary to ensure that MSU workers
 are given days off from work each week and have the opportunity to relieve some stress
 through yard time.

 A  substantial number of MSU inmates (as well Stateville inmates) additionally reported
 that it sometimes took months for phone numbers to be added to their approved call lists.
 Thus, they were unable to phone friends and family for a long period of time. Other MSU
 inmates reported that access to commissary was and "hit or miss," in that usually had
 access once a week, but sometimes went several weeks without commissary. Inmates also
 reported that that mail delivery was often delayed by several weeks.


                  Education, Programming, Jobs & Industries

 Stateville offers little in the way of education, prograrnming, vocational training or
 industry jobs to inmates. The reason is not lack of enthusiasm on the part of the
 administration, but the scarcity of funding and resources. Indeed, the administration
 expressed a strong conviction in the importance of education, job training and
 rehabilitative progralnming for inmates. Its philosophy, as stated by the warden, is that
 correctional institutions should truly be "correctional" and use education and
 rehabilitation to "reprogram" inmates, taking out the "bad" and replacing it with 'ogood."
 The reality is that administration has limited resources and must make "difficult choices"
 to address the facility's most urgent needs. There currently is not the budget, space,
 staffing, security or resources to put its rehabilitative philosophy into action.

 At the time of JHA's visit, two Adult Basic Education (ABE) classes were offered, with a
 total enrollment of 30 inmates. One GED class was offered, with a total enrollment of 25
 inmates. In the preceding year, only nine inmates completed ABE and five obtained their
 GED. The administration reported that waitlists for classes are "always over 100"
 because there are so few instructors. The administration hoped to add an additional class
 in the next month after it completed hiring a new instructor.

 Unfortunately, an extremely successful and popular creative writing program that was
 taught by a volunteer instructor was suspended the past year after the instructor passed
 away. The administration intended to try to keep the creative writing program going, but
 the logistics on how this would be accomplished had not yet been worked out. An art
 class geared towards long-term offenders is also taught at Stateville. The administration
 indicated that the waitlists for both the art and creative writing classes have always been
 exceptionally long because there is a huge demand for these programs.

 The administration recently added a small, new pilot program, the SMART program, led
 by a volunteer instructor. The program teaches inmates stress reduction through yoga
 breathing techniques and practical coping skills to help inmates accept responsibility for
 their past actions and confront stressful situations more successfully in the future.
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 Stateville's administration was skeptical about the program initially, even though it was
 reported to have been very successful when used at Illinois River Correctional Center.
 The administration indicated that it has since unequivocally embraced the SMART
 progmm because it has seen real results in changing inmates' attitudes and behavior, and
 has expanded the SMART progrcm by retaining a second volunteer instructor to teach a
 second class. There is a very long wait list to participate in the SMART program because
 classes are small, the class is extremely popular, and only a handful of spots are available.

 JHA commends the administration on its efforts to increase programming, particularly
 through the use of volunteers, and strongly encourages it to continue to do so. Stateville
 has a long and successful history of using volunteers to enhance inmate programming and
 quality of life. In the face of budgetary and staffing cuts, increased reliance'on volunteers
 could allow increased educational and rehabilitative programming for inmates to the
 greater benefit of the facility and the community at large when inmates are released.

  As far as vocational training and jobs in industries, there are scarce opportunities for
  inmates. There is a barber training class, with 16 inmates enrolled. There are a few
  industry jobs employing roughly 25 inmates in making powdered soap and assembling
  wooden office furniture. In addition,60 inmates are employed in the kitchen at Stateville
  and 36 are employed in the kitchen at NRC. An additional5T inmates are also employed
  performing various maintenance and janitorial duties at Stateville.

  The administration estimated there were about 250 work detail assignments in total,70 of
  which were assigned to MSU inmates. According to the administration, the total number
  of programming assignments is roughly 400.

  As at other facilities, preference for programming, classes and jobs is usually given to
  flrst time offenders and those with lesser sentences. Consequently, long-term prisoners
  and prisoners serving natural life have practically no opportunities for programming, jobs
  or education. This is unfortunate, as long-term prisoners can be an asset and stabilizing
  force in prison and serve as constructive mentors to younger prisoners, particularly in
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  educational and program settings.


                                            Staffing lssues

  One of the biggest staffing challenges for Stateville is having to share staff with NRC.
  When new inmates arrive at NRC, correctional staff must be pulled from their duties at
  Stateville to process them through reception and classification. This leaves Stateville with
  only a minimal, skeletal staff, therein limiting its operations and inmate movement to
  what is basic and essential, which can interfere with inmates' ability access to the
  infrmary, yard, commissary, clinics, and the library.
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     See Robert Johnson and Ania Dobrzanska, Mature Coping Among Life-Sentenced Inmates: An
  Explortttory Study of Adjustment Dynamics, Corections Compendium (November,2005) available at
  https://www.NCJRS.gov/App/Publications/abstract.aspxlD=234313;  and John hwin, Lifers: Seeking
  Redemption in Prison, (Routledge) (2009).
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 Complicating matters further, because Stateville and NRC both lack sufficient clerical
 and administrative support staff, six correctional officers must regularly be reassigned
 from performing security duties to performing clerical work. Although authorized for 251
 clericaV administrative support staff, only 233 of these positions were filled on the date
 of JHA's visit.

 From the perspective of inmates, Stateville's biggest staffing problems include lack of
 adequate paralegals and mail staff. At the time of JHA's visit, Stateville had only one
 paralegal, assisted by a few inmate law clerks. A staff member frankly admitted this was
 not enough to address inmates' legal needs. Efforts are made to accommodate inmates by
 prioritizing access to law library materials according to court filing deadlines.Inmates
 can request a copy of a specific case. However, performing general legal research is
 nearly impossible as the legal reference books available in the library are very outdated
 and are no longer being updated because ofthe expense.

 With respect to the mailroom, there were three mail staffvacancies at the time of JHA's
 visit. Consequently, there is a delay in the delivery and processing of incoming mail
 of several weeks according to some inmates, one week according to the administration.
 While this situation is not ideal, it is vastly improved since the time of JHA's last visit to
 Stateville in 2010, when the delay in processing incoming mail was several months. The
 administration indicated that although it remains understaffed in the mailroom, it views
 mail processing as a priority, and thus will transfer staff from other departments to the
 mailroom in the event that mail processing becomes seriously backlogged.

                        Population & Facility Demographics

 The administration reports that, excluding those inmates sent to Stateville temporarily on
 court and medical writs, the average length of stay for an inmate at Stateville is six and
 one half years. The demographics of Stateville's population by class of offense is as
 follows: 1,118 inmates convicted of murder;637 convicted of Class X offense; 537
 convicted of Class 1 offense; 689 convicted of Class 2 offense; 212 convicted of Class 3
 offense; and 500 convicted of Class 4 offense.



 The racial makeup of Stateville's population is roughly 69 percent African American; 19
 percent White; 12 percent Hispanic;and less than 1 percent Native American and Asian.



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  This report was written by Maya Szilak, Director of the Prison Monitoring Project,for
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 Since 1901, JHA has provided public oversight of Illinois' juvenile and adult correctional
 facilities. Every year, JHA staff and trained volunteers inspect prisons, jails and detention
 centers throughout the state. Based on these inspections,IHA regularly issues reports that
 are instrumental in improving prison conditions.



                JHA's work on healthcare in DOC is made possible through a generous
                grant by the Michael Reese Health Trust.
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Defendant/Respondent



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